Case 21-10064 Doc 101 Filed 06/10/21 Entered 06/10/21 13:37:53 Main Document Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   IN RE:                                               :       CASE NO. 21-10064
                                                        :       Jointly Administered with
   BAYOU BYWATER LIVING, LLC                            :       CASE NO.: 21-10065
   WEBSTER STREET HOLDING, LLC                          :       CASE NO.: 21-10204
   RELDS, LLC                                           :       CASE NO.: 21-10205
   SOUTH CLAIBORNE HOLDINGS, LLC                        :
                                                        :       SECTION “A”
          DEBTORS                                       :
                                                        :       CHAPTER 7

                                     ORDER TO SHOW CAUSE

          This Court held an expedited hearing on June 10, 2021, to consider the Motion for Contempt

   (the “Motion”), [ECF Doc. 93], filed by Barbara Rivera-Fulton, the chapter 7 trustee (the “Trustee”)

   appointed to administer the four above-captioned, jointly administered cases. Considering the

   allegations made in the Motion for Contempt, and the statements made by counsel for the Trustee

   and the Debtor,

          IT IS ORDERED that GERARD MCGOVERN and GILBERTO RIVERAS SHALL

   APPEAR IN PERSON ON FRIDAY, JUNE 11, 2021, AT 9:00 A.M. at the United States

   Bankruptcy Court, 500 Poydras Street, Courtroom B-709, New Orleans, Louisiana 70130, to show

   cause why they should not be sanctioned for failure to comply with this Court’s Order dated May

   28, 2021, [ECF Doc. 86], compelling the following, among other things:

          1. Close all of the Debtors’ DIP accounts and turn over to the Trustee all of the funds in
             the accounts (including without limitation the amount of $40,800 represented by
             Debtor’s counsel to be contained in those accounts);

          2. Turn over to the Trustee all insurance policies in effect that cover all properties of the
             Debtors’ estates;

          3. Turn over to the Trustee any and all leases, whether expired or not, on all properties of
             the Debtors’ estates, and the names, addresses, and phone numbers of all tenants in the
             properties of the Debtors’ estates; and
Case 21-10064 Doc 101 Filed 06/10/21 Entered 06/10/21 13:37:53 Main Document Page 2 of 2




          4. Notify all tenants in the properties of the Debtors’ estates to send all rent payments
             presently due and all rent payments that come due in the future directly to the Trustee.

          IT IS FURTHER ORDERED that the Trustee and counsel for the Trustee shall appear in

   person. Counsel for the Debtor SHALL APPEAR, but he is permitted to appear via teleconference:

   https://www.zoomgov.com/j/16167747050?pwd=bXNVTjF2RDRXVGpuUFp3ZUVXMmlEZz09,

   Meeting ID: 161 6774 7050 and Passcode: 000064, with audio through the telephone line at (888)

   684-8852 and Access Code: 9318283.

          All other counsel for interested parties may appear in person and be heard.

          New Orleans, Louisiana, this 10th day of June, 2021.



                                                __________________________________________
                                                          MEREDITH S. GRABILL
                                                   UNITED STATES BANKRUPTCY JUDGE




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